10

11

12

13

14

15

16

17

18

'19

20

21

22

23

24

__'25

26
27

28

 

 

Case 1:09-cv-00858-GI\/|S Document 1 Filed 11/13/09 Page 1 of 7 Page|D #: 1

UNITED STATES DIS'I`RICT COURT
FOR THE DISTRICT OF I)ELAWARE

HANK JANSON,
JURY TRIAL DEMANDED
Plaintiff
v. ‘ § C.A. No.
NATIONAL ENTERPRISE SYSTEMS, INC.,
Defendant
C 0 M P L A I N T

NOW COMES the Plaintiff, HANK JANSON, and his attorneys, KIMMEL &
S'ILVERMAN, P.C., and for his Complaint against the Defendant, NATIONAL ENTERPRISE
SYSTEMS, INC., Plaintiff alleges the following:

PRELIMINARY STATEMENT

1. This is an action for actual and statutory damages for violations of the Fair Debt
Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. §§1692 et seq.

2. Plaintiff is an adult individual Who resides in Greenwood, D_elaWare.

3. Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as he is a natural
person allegedly obligated to pay a debt.

4'. At all relevant times, Defendant acted as a “debt collector” Within the meaning
of 15 U.S.C.' § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed to another.

5. Defendant is a corporation of the State of Ohio With its principal place of

Complaint - 1

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

.24

25

26

27

23

 

 

Case 1:09-cv-00858-GI\/|S Document 1 Filed 11/13/09 Page 2 of 7 Page|D #: 2

business at 29l25 Solon Road, Solon, Ohio.

6. The Fair Debt Collection Practices Act (“FDCPA”) is a comprehensive statute
which prohibits a catalog of activities in connection with the collection of debts by third parties
See 15 U.S.C. §§1692 et seq. The FDCPA imposes civil liability on any person or entity that
violates its provisions, and establishes general standards of debt collector conduct, defines
abuse, and provides for specific consumer rights l5 U.S.C. §1692k. Thc operative provisions
of the FDCPA declare certain rights to be provided to or claimed by debtors, forbid deceitful
and misleading practices, prohibit harassing and abusive tactics, and proscribe unfair or
unconscionable conduct, both generally and in a specific list of disapproved practices

7. ln particular, the FDCPA broadly enumerates several practices considered
contrary to its stated purpose, and forbids debt collectors from taking such action. The
substantive heart of the FDCPA lies in three broad prohibitionsl First, a “debt collector may
not engage in any conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection With the collection of a debt.” 15 U.S.C. § l692d. Second, a “debt
collector may not use any false, deceptive, or misleading representation or means in connection
with the collection of any debt.” lS-U.S.C. § 1692e. And third, a “debt collector may not use
unfair or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.
The PDCPA is designed to protect consumers from unscrupulous collectors, whether or not
there exists a valid debt, broadly prohibits unfair or unconscionable collection methods,
conduct which harasses, oppresses or abuses any debtor, and any false, deceptive or misleading
statements in connection with the collection of a debt.

8. In enacting the FDCPA, the United States Congress found that “[t]here is

abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by

Complaint - 2

 

 

10
11
12
13

14

is
19
20
21
22
23
24
25
26
_ 27

28

 

 

Case 1:09-cv-00858-GI\/|S Document 1 Filed 11/13/09 Page 3 of 7 Page|D #: 3

many debt collectors,” Which “contribute to the number of personal banlcruptcies, to marital
instability, to the loss of _iobs, and to invasions of individual privacy.” 15 U.S.C. § 1692a.
Congress additionally found existing laws and procedures for redressing debt collection injuries
to be inadequate to protect consumers 15 U.S.C. § l692b.

9. Congress enacted the FDCPA to regulate the collection of consumer debts by
debt collectors. The express purposes of the FDCPA are to “elirninate abusive debt collection
practices by debt collectors, to insure that debt collectors who refrain from using abusive debt
collection practices are not competitively disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § l692e.

FACTUAL ALLEGATIONS

10. On or about August 31, 2009, Defendant contacted Plaintiff_` s wife in an effort
to collect a personal obligation alleged to be due by Plaintiff.

1 l. Defendant discussed Plaintiff`s alleged debt with Plaintiff’ s Wife, Jessica
Janson.

12. Defendant harassed Plaintiff’s wife, knowing Plaintiff’ s wife did not owe the
debt and was not listed as a debtor on any account with Defendantl

13. l Defendant, by and through the caller, who failed to identify himself, threatened
that Plaintiff and his Wife “have a lot to lose” and then began reading from an itemized list
consisting of Plaintift`s mortgage, car and motorcycle information, as well as the name of

Plaintiff’ s employer

14. Defendant then demanded a check in the amount of 3647.00 immediately and
Warned if Plaintiff’s wife failed to produce such a check, then Plaintiff’ s Wages would be

garnished

Complaint - 3

 

 

10
11
12
13
14
15
15

17

19
20
21
22
23

24

"'_25 -

26

27

28

 

 

Case 1:09-cv-00858-GI\/|S Document 1 Filed 11/13/09 Page 4 of 7 Page|D #: 4

15. Although the debt was not hers, Plaintiff’s wife attempted to set up a payment
schedule With Defendant in an effort to avoid Plaintift"s wages being garnished

16. Defendant refused to set up a payment schedule and instead belittled Plaintiff”s
wife stating, “How can 1 trust you to do that when you haven’t paid Chase a dime in over a
year!”

17. feeling threatened and out of options, l’laintift’s wife reluctantly gave
Defendant a check in the amount of $647.00, which Defendant demanded be post-dated for
September 28, 2009.

18. Defendant had this discussion and took these actions, knowing Plaintiff’s wife
did not owe the debt.

CONSTRUCTION OF APPLICABLE LAW

19. The FDCPA is a strict liability statute Taylor v. Perrz`rz, Landry, deLaunay &
Durand, 103 F.3d 1232 (Sth Cir. 1997). “Because the Act imposes strict liability, a consumer
need not show intentional conduct by the debt collector to be entitled to damages.” Russe]l v.
Equl'fax A.R.S., 74 F. 3d 30 (2d Cir. 1996); see also Gearz'ng v. Check Brokerage Corp., 233
F.3d 469 (7'th Cir. 2000) (holding unintentional misrepresentation of debt collector’s legal
status violated FDCPA); Clomon v. Jackson, 988 F. 2d 1314 (2d Cir. 1993).

20. The FDCPA is a remedial statute, and therefore must be construed liberally in
favor of the debtor. Sprinkie v. SB&C er., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The
remedial nature of the FDCPA requires that courts interpret it liberally Clark v. Capz`raf Credft
& Collection Ser_vices, Inc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the

Truth in Lending Act (TILA) 15 U.S.C §§1601 et seq., is a remedial statute, it should be

Cornplaint - 4

 

10

11

13
14
15
16
17
18
19
20
ii
22
23
24
25
26
27

28

 

 

Case 1:09-cv-00858-GI\/|S Document 1 Filed 11/13/09 Page 5 of 7 Page|D #: 5

construed liberally in favor of the consumer.” Johnson v. Rz`ddle, 305 F. 3d 1107 (10th Cir.
2002).

21. The FDCPA is to be interpreted in accordance with the “least sophisticated”
consumer standard § Jeter v. Credit Bureau, Inc., 760 F.2d 1168 (1lth Cir. 1985),' Graziano
v. Harrison, 950 F. 2d 107 (3d Cir. '1991); Swanson v. Soathern Oregon Credz'r Service, Inc.,
869 F.2d 1222 (9th Cir. 1988). The FDCPA was not “made for the protection of experts, but
for the public - that vast multitude which includes the ignorant, the unthinking, and the
credulous, and the fact that a false statement may be obviously false to those who are trained
and experienced does not change its character, nor take away its power to deceive others less
experienced.” Id. The least sophisticated consumer standard serves a dual purpose in that it
ensures protection of all consumers, even naive and trusting, against deceptive collection
practices, and protects collectors against liability for bizarre or idiosyncratic interpretations of
collection notices Clomdn, 988 F. 2d at 1318.

COUNT I

22. Defendant’s conduct violated the FDCPA in multiple ways, including but not
limited to:

a) Engaging in conduct the natural consequence of which is to harass, oppress, or
abuse in violation of 15 U.S.C §§1692d; d(l); d(6);

b) Engaging any person in telephone conversation repeatedly or continuously with
the intent to annoy, abuse, or harass any person at the called number violation of
15 U.S.C. §1692;

c) Misrepresenting the amount of the debt in violation of § 1692e(2);

Complaint - 5

 

10

11

12

14

15

16

17

18

19

20

_21

22

23

24
25
26
_ 27

28

 

 

Case 1:09-cv-00858-GI\/|S Document 1 Filed 11/13/09 Page 6 of 7 Page|D #: 6

d) Misrepresenting or implying that nonpayment of any debt will result in arrest or
imprisonment of any person or the seizure, garnishment, attachment or sale of
any property or wages, in violation of 15 U.S.C. §1692e(4);

e) Making deceptive, false or misleading representations when attempting to
collect a debt in violation of 15 U.S.C. §§1692e; and e(5);

f) Using unfair or unconscionable means to collect or attempt to collect any debt,
in violation of 15 U.S.C. §1692f;

g) Acceptance of a check postdated by more than 5 days in violation of 15 U.S.C.
§16921`(2);

h) The collection of amounts expressly not permitted by law in violation of 15
U.S.C.§l692f(l);

i) Failing to send Written notice of the alleged debt, in accordance with 15 U.S.C.
§1692(g)(a), and

j) Engaging in communications with a third party without prior consent of the
consumer given directly to the debt collector, or court of competent jurisdiction
in violation of 15 U.S.C. §16920(b).

PRAY-ER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
Defendant for the following:
a. Declaratory judgment that Defendant’s conduct violated the FDCPA;

b. Actual damages;
c. Statutory damages;
d. Costs and reasonable attorney’s fees; and

e. Any other and further relief as may be just and proper.

Comp]aint - 6

 

10

11

12

13

14

'17

18
19
20
21
22
n _ 23

24

._'25

26

27

28

15

 

 

Case 1:09-cv-00858-GI\/|S Document 1 Filed 11/13/09 Page 7 of 7 Page|D #: 7

PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY

Respectfully submitted,

Date: 11/2/2009 KlMl\/IEL & SlLVERl\/IAN P`C.

By: /s/ Kate G. Shumaker
Attorneys for Plaintiff

Silverside Carr Executive Center
501 Silverside Rd., STE 118
Wilmington, DE 19809

Phone: (302) 791-9373

Complaint - 7

 

